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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        IN RE:
                                   7                                                        Case No. 13-md-02420-YGR (DMR)

                                   8    LITHIUM ION BATTERIES ANTITRUST
                                        LITIGATION                                          ORDER GRANTING
                                   9                                                        ADMINISTRATIVE MOTIONS TO
                                                                                            FILE UNDER SEAL
                                  10
                                                                                            Re: Dkt. Nos. 764, 795
                                  11

                                  12          Plaintiffs and Defendants LG Chem Ltd. and LG Chem America, Inc. (“LG Chem”) have
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                                  13   filed a joint discovery letter. They have also submitted motions to file portions of the discovery

                                  14   letter and evidence cited therein under seal. [Docket Nos. 764, 795.] This order addresses only

                                  15   the motions to seal.

                                  16                                     I.      LEGAL STANDARDS
                                  17          Civil Local Rule 79-5(b) states that “no document may be filed under seal (i.e., closed to

                                  18   inspection by the public) except pursuant to a court order that authorizes the sealing of the

                                  19   particular document, or portions thereof. A sealing order may issue only upon a request that

                                  20   establishes that the document, or portions thereof, are privileged, protectable as a trade secret or

                                  21   otherwise entitled to protection under the law (hereinafter referred to as ‘sealable’).” “The request

                                  22   must be narrowly tailored to seek sealing only of sealable material, and must conform with Civil

                                  23   L.R. 79-5(d).” Id. Furthermore, “[r]eference to a stipulation or protective order that allows a

                                  24   party to designate certain documents as confidential is not sufficient to establish that a document,

                                  25   or portions thereof, are sealable.” Civ. L.R. 79-5(d)(1)(A).

                                  26          Pursuant to Civil Local Rule 79-5(e), a party must file under seal a document designated as

                                  27   confidential by the opposing party or a document containing information so designated by an

                                  28   opposing party. “Within 4 days of the filing of the Administrative Motion to File Under Seal, the
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                                   1   Designating Party must file a declaration as required by subsection 79-5(d)(1)(A) establishing that

                                   2   all of the designated material is sealable.” Civ. L.R. 79-5(e)(1). “If the Designating Party does

                                   3   not file a responsive declaration as required by subsection 79-5(e)(1) and the Administrative

                                   4   Motion to File Under Seal is denied, the Submitting Party may file the document in the public

                                   5   record no earlier than 4 days, and no later than 10 days, after the motion is denied.” Civ. L.R. 79-

                                   6   5(e)(2).

                                   7                                          II.     DISCUSSION
                                   8          Plaintiffs move to seal portions of the joint letter and evidence containing information

                                   9   designated by LG Chem as confidential. Specifically, Plaintiffs move to seal portions of the

                                  10   August 7, 2015 joint letter and Exhibits 8 and 10 to the August 18, 2015 Declaration of Aaron

                                  11   Sheanin.

                                  12          LG Chem has timely filed the responsive declarations required by Civil Local Rule 79-
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                                  13   5(e)(1), and has sufficiently explained that all of the designated material is sealable because it

                                  14   refers to confidential, sensitive employee information about a non-party, as well as LG Chem’s

                                  15   confidential internal policies. [Docket Nos. 775, 807.] Accordingly, Plaintiffs’ motions to seal

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                                  16   are GRANTED.
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                                  18          IT IS SO ORDERED.
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                                  19   Dated: September 15, 2015                                       IT IS S
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